                         Case 3:24-cv-00430-IM               Document 3          Filed 03/07/24     Page 1 of 2

  AO 440 (Rev. 06/12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                    for the

                                                  i          District
                                                      __________      of Oregon
                                                                  District of __________    i
   VAN LOO FIDUCIARY SERVICES LLC, as personal                        )
  representative of the estate of IMMANUEAL JAQUEZ                    )
                   CLARK, deceased,                                   )
                                                                      )
                              Plaintiff(s)                            )
                                                                      )
                                  v.                                            Civil Action No. 3:24-cv-430-IM
                                                                      )
    CITY OF PORTLAND; CHRISTOPHER SATHOFF                             )
                                                                      )
                                                                      )
                                                                      )
                             Defendant(s)                             )

                                                      SUMMONS IN A CIVIL ACTION

  To: (Defendant’s name and address) Christopher Sathoff
                                         c/o Office of the City Attorney
                                         1221 SW 4th Avenue, Suite 430
                                         Portland, OR 97204




            A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
  whose name and address are: Jesse Merrithew, Levi Merrithew Horst PC, 610 SW Alder St. Ste. 415, Portland OR
                                         97204
                                         J. Ashlee Albies & Maya Rinta, Albies Stark & Guerriero, 1500 SW 1st Ave. Ste. 1000,
                                         Portland OR 97201
                                         Juan Chavez, Franz Bruggemeier, & Amanda Lamb, Oregon Justice Resource Center,
                                         P.O. Box 5248, Portland OR 97208

         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



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Date::_03/07/2024
         _ _ _ _ __                                                           By: s/G. Davis, Deputy Clerk
                                                                                            Signature of Clerk or Deputy Clerk
                       Case 3:24-cv-00430-IM               Document 3        Filed 03/07/24      Page 2 of 2

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                                v.                                          Civil Action No. 3:24-cv-430-IM
                                                                    )
  CITY OF PORTLAND; CHRISTOPHER SATHOFF                             )
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                                                                    )
                                                                    )
                           Defendant(s)                             )

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Date:
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 Date::03/07/2024
       _ _ _ _ _ __                                                          By: s/G. Davis, Deputy Clerk
                                                                                         Signature of Clerk or Deputy Clerk
